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 6   Attorneys for Defendant
     KIEDOCK KIM
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 8
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                      CASE NO: 2:10-CR-0255

12                      Plaintiff,
                                                    STIPULATION AND PROPOSED
13         v.                                       ORDER MODIFYING TERMS OF
                                                    PRETRIAL RELEASE TO PERMIT
14   FRENCH GULCH NEVADA MINING                     SHORT-TERM TRAVEL TO AND
     CORPORATION, BULLION RIVER                     FROM CANADA AND FOR RELEASE
15   GOLD CORPORATION, PETER                        OF DEFENDANT’S PASSPORT
     MARTIN KUHN, and KIEDOCK KIM,                  _______________________________
16
                        Defendants.
17
     _____________________________/
18

19

20         The defendant, KIEDOCK KIM, through his counsel of record, and plaintiff

21   United States of America, through its counsel, Assistant United States Attorney

22   Samuel W ong, agree and stipulate that the condition of pre-trial release restricting

23   the defendant’s travel to the Eastern and Northern Districts of California shall be

24   modified as follows: The defendant shall be permitted to travel to and from

25   Vancouver, British Columbia, Canada, for a seven-day period commencing on

26   September 22, 2011, and returning on September 29, 2011, for the memorial

27   services and funeral for his father, who passed away in Vancouver on Saturday

28   evening, September 17, 2011.

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                     Stipulation and Order Modifying Terms of Pretrial Release
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 1         The parties further agree and stipulate that the condition of pre-trial release

 2   requiring the defendant to surrender his passport to the Clerk of the Court may be

 3   modified to permit the Clerk to release the previously-surrendered passport to

 4   counsel for the defendant so that the defendant may travel to Canada for the

 5   memorial service and funeral of his father. Upon return to the United States, the

 6   defendant shall surrender his passport to the Clerk of the Court.

 7   Dated: September ____, 2011            Respectfully submitted,

 8                                          SEGAL & KIRBY LLP

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10                                          By:      /s/ Malcolm Segal
                                                     MALCOLM SEGAL
11                                                   Attorneys for Defendant
                                                     KIEDOCK KIM
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14
     Dated: September ____, 2011            By:      /s/ Samuel W ong
15                                                   SAMUEL W ONG
                                                     Assistant United States Attorney
16                                                   (By permission)

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20                                           ORDER

21         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,

22   the condition of pre-trial release restricting the defendant’s travel to the Eastern and

23   Northern Districts of California is modified as follows: The defendant is permitted to

24   travel to and from Vancouver, British Columbia, Canada, for a seven-day period

25   commencing on September 22, 2011, and returning on September 29, 2011 for the

26   memorial services and funeral for his father.

27         The condition of pre-trial release requiring the defendant to surrender his

28   passport to the Clerk of the Court is hereby modified and the Clerk shall release the

                                            2
                     Stipulation and Order Modifying Terms of Pretrial Release
       Case 2:10-cr-00255-TLN Document 43 Filed 09/20/11 Page 3 of 3

 1   previously-surrendered passport to counsel for the defendant. Upon return to the

 2   United States, the defendant shall surrender his passport to the Clerk of the Court.

 3         IT IS SO ORDERED.

 4   Dated: September 20, 2011
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 6                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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                    Stipulation and Order Modifying Terms of Pretrial Release
